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                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF DELAWARE


In re:                             :
                                   :            Chapter 11
MALLINCKRODT PLC, et al.,          :            Case No. 20-12522 (JTD)
                                   :
                      Debtors.     :
__________________________________ :
                                   :
CITY OF ROCKFORD, et al.,          :
                                   :
                      Appellants,  :
                                   :
      v.                           :            C. A. No. 21-167-LPS
                                   :
MALLINCKRODT PLC, et al.,          :
                                   :
                      Appellees.   :


                                 RECOMMENDATION

             At Wilmington this 1st day of March, 2021.

             WHEREAS, pursuant to paragraph 2(a) of the Procedures to Govern

Mediation of Appeals from the United States Bankruptcy Court for this District dated

September 11, 2012, the court conducted an initial review, which included information

from counsel, to determine the appropriateness of mediation in this matter;

             WHEREAS, as a result of the above screening process, the issues

involved in this case are not amenable to mediation and mediation at this stage would

not be a productive exercise, a worthwhile use of judicial resources nor warrant the

expense of the process.

             The parties met and conferred in good faith regarding mediation of this

appeal. Both request that this appeal be withdrawn from mandatory mediation because
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of the nature of the relief granted by the Bankruptcy Court and the issues on appeal.

Neither believe that mediation would be fruitful.

              The parties further jointly proposed the following briefing schedule be

entered on the merits:

              Appellants’ Opening Brief                         April 14, 2021

              Appellees’ Response Brief                         May 14, 2021

              Appellants’ Reply Brief                           June 1, 2021

              THEREFORE, IT IS RECOMMENDED that, pursuant to paragraph 2(a)

Procedures to Govern Mediation of Appeals from the United States Bankruptcy Court

for this District and 28 U.S.C. § 636(b), this matter be withdrawn from the mandatory

referral for mediation and proceed through the appellate process of this Court. No

objections are anticipate to this Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B),

FED. R. CIV. P. 72(a) and D. DEL. LR 72.1, since it is consistent with the parties’ request..

              Local counsel are obligated to inform out-of-state counsel of this Order.


                                           /s/ Mary Pat Thynge
                                           Chief U.S. Magistrate Judge




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